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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 UNITED STATES OF AMERICA,                       §
                                                 §
               Plaintiff,                        §
                                                 §
 v.                                              §     CRIMINAL ACTION NO. 4:11-CR-248
                                                 §
 CHRISTOPHER MURPHY SPRING                       §
                                                 §
               Defendant.                        §


                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

        Now before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the

 Court conducted a hearing on October 6, 2016, to determine whether Defendant violated his

 supervised release.   Defendant was represented by Denise Benson.        The Government was

 represented by Andrew Stover.

        On June 17, 2014, Defendant was sentenced by the Honorable United States District

 Judge Richard A. Schell of the Eastern District of Texas to 262 months imprisonment followed

 by a 60 month term of supervised release for the offense of Conspiracy to Possess with Intent to

 Distribute Less Than 100 Grams of Heroin. 14 months imprisonment followed by a 3 year term

 of supervised release subject to the standard conditions of release, plus special conditions to

 include financial disclosure; drug treatment and testing; mental health treatment, and a $100

 special assessment . On July 21, 2015, Christopher Murphy Spring completed his period of

 imprisonment and began service of the supervision term. The case was reassigned to U.S.

 District Judge Marcia A. Crone on October 7, 2015.



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            On August 30, 2016, the U.S. Probation Officer executed a Petition for Warrant or

 Summons for Offender Under Supervision [Dkt. 1344 Sealed].                The Petition asserted that

 Defendant violated five (5) conditions of supervision as follows: (1) Defendant shall not commit

 another federal, state, or local crime; (2) Defendant shall not illegally possess a controlled

 substance; (3) Defendant shall refrain from any unlawful use of a controlled substance; (4)

 Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,

 distribute, or administer any controlled substance or any paraphernalia related to any controlled

 substances, except as prescribed by a physician; and (5) Defendant shall participate in a program

 of testing and treatment for drug abuse, under the guidance and direction of the United States

 Probation Office, until such time as the defendant is released from the program by the probation

 officer.

            The Petition alleges that Defendant committed the following acts: (1), (2), (3), and (4) On

 July 22, 2016, Defendant was arrested in Collin County, Texas, by the Anna, Texas, Police

 Department for Evading Arrest Detention with Vehicle, a State Jail Felony, and Possession of

 Marijuana < 2oz., a Class B Misdemeanor. He was released on bond on July 23, 2016. On

 August 3, 2016, Defendant submitted a urine specimen which tested positive for marijuana. He

 admitted verbally and in writing he used said substance prior to his arrest on July 22, 2016; and

 (5) On August 8, 2016,Defendant submitted a urine specimen which was returned by Alere

 Toxicology Services, Inc., as being diluted.

            Prior to the Government putting on its case, Defendant entered a plea of true to the

 allegations three (3), four (4), and five (5).       The Government will dismiss the remaining

 allegations.




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        The Court finds that Defendant did violate his conditions of supervised release by

 committing the allegations listed herein. Defendant waived his right to allocate before the

 District Judge and his right to object to the report and recommendation of this Court.

                                     RECOMMENDATION

        Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant’s

 supervised release be revoked and that he be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of ten (10) months, with no term of supervised release to follow.

        The Court also recommends that Defendant be housed in the Bureau of Prisons FCI Ft.

 Worth facility, if appropriate.

        SIGNED this 7th day of October, 2016.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE




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